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  In accordance with 28 U.S.C. § 1746, I, (Paula Jo Lentz), declare under the penalty of perjury of
  the laws of the United States of America, and state upon personal knowledge that:

  My name is Paula Jo Lentz, former Communications Director of America’s Frontline Doctors
  (AFLDS).

 I joined AFLDS as a volunteer in May of 2021. I moved into a part-time, compensated role in
 late July 2021 in the role of Communications Assistant. My title was later changed to Creative
 Assistant to John Strand. In late September 2021, I was promoted to the full-time role of Events
 Manager and began this role October 2021. In December 2021, I was promoted to the role of
 Communications Director. I remained Communications Director until April 13, 2022 when I
 resigned from AFLDS.

 On December 9, 2021, there was a Board of Directors meeting held in Beverly Hills, CA at The
 Peninsula Beverly Hills Hotel. This was my responsibility, as Events Manager during October
 and November, to plan this meeting. In my new role as Communications Director, I was in
 attendance to present on behalf of the Communications Department to the Board and was in
 attendance for all portions, except for the sections covering the Financial Report and voting in of
 new Board Members Sheriff Richard Mack and Pastor Jurgen Matthesius (see attached Board
 of Directors Agendas written by Dr. Simone Gold). Those in attendance were Dr. Simone Gold,
 Amy Landau, Joey Gilbert, Esq., Sheriff Richard Mack, Pastor Jurgen Matthesius, Drew
 Kachurak, Troy Brewer, Evan Landau, Jared Lewin, Thomas Gennaro, Esq., Royce Hood, Esq.,
 Dr. Roque Espinal, and for a portion, Jonah Gold. Dr. Dana Granberg-Nill was also invited to
 attend, however she was too ill to attend the meetings in person and stayed in our shared hotel
 room. During this meeting Dr. Simone Gold, Joey Gilbert, Esq., Amy Landau, Drew Kachurak,
 Dr. Roque Espinal, Evan Landau, and myself each presented to the newly invited board
 members: Sheriff Richard Mack and Pastor Jurgen Matthesius. Jared Lewin kept the minutes.
 See attached Board of Directors Agendas written by Dr. Simone Gold.

 On February 9, 2022, I participated in a team meeting at the AFLDS Team house at 799 104th
 Ave N Naples, Florida, attended by several Directors and Managers and led by Dr. Simone
 Gold. Dr. Simone Gold announced that the AFLDS Board of Directors had voted ,and she had
 officially stepped down as both a member of the AFLDS Board of Directors and as the
 Executive Director of AFLDS. She was leaving AFLDS to pursue her new initiative, Gold Care
 Wellness Centers. Dr. Simone Gold stated that she was no longer taking compensation from
 AFLDS and had transitioned to the role of a consultant for AFLDS. Dr. Simone Gold also
 announced the promotion of Amy Landau, Operations Director, to Executive Director. Amy
 Landau was officially now the top leader at AFLDS, and we were instructed by Dr. Simone Gold
 that each of the Directors were to report directly to her from that point forward. During this
 meeting Kristine Lutzo was promoted from Operations Manager to Operations Director.
 Furthermore, Joey Gilbert, Esq. was the Chairman of the Board, Acting Executive Director, with
 Pastor Jurgen Matthesius Juergen and Sheriff Richard Mack as the other members of the
 Board.

 I began to work within the confines of this new structure as was expressly relayed during the
 February 9, 2022, meeting until Amy Landau resigned on March 7, 2022. At that point, there
 was much confusion within the organization about who the Directors were to report to until we
 had a meeting on March 11, 2022, where Joey Gilbert, Esq. reinforced that he was Chairman of
 the Board, Acting Executive Director, and we were to report directly to him during this interim
 period. Joey Gilbert, Esq. Kristine Lutzo, Irene Williams, and I were in attendance.
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 On, March 18, 2022, Lisa Andrezjewski was promoted from Dr. Simone Gold’s Executive
 Assistant to Executive Director. It was communicated to the team that the Directors were to
 report directly to Lisa Andrezjewski.

 Dr. Simone Gold held a Teams video call, which to the best of my memory, was held on a
 Sunday in April, just prior to my departure with myself and Marketing Director, Drew Kacharuk.
 She verbally lambasted me in front of my colleague and claimed that I failed to communicate
 information directly to her. The treatment was appalling. I did not accept any wrongdoing on my
 part, as it was communicated that the Directors were to report to Executive Director Lisa
 Andrezjewski. Again, it had been communicated by Dr. Simone Gold herself in the February 9,
 2022, team meeting in Naples, FL, that she was a consultant only to AFLDS.

 On April 11,2022, I was asked to join a meeting by Lisa Andrezjewski at the AFLDS team
 house in Naples, FL. There I met with both Dr. Simone Gold and Lisa Andrezjewski and was
 offered a demotion to Communications Manager, reporting to two different people, Marketing
 Director Drew Kachurak, and newly promoted Creative Director, John Strand. This demotion
 was communicated to me as due to one poorly referenced example with alleged insufficient
 performance. Up to that point I had maintained a stellar record as both a leader and dedicated
 team player. I declined this role, due to the organizational ambiguity and lack of
 acknowledgment of my positive contributions to AFLDS, be being presented with a demotion.
 There was then a haphazard offer of a second role offered to me in that meeting. This was a
 separate Manager role within the News Department that did not have a clearly defined job
 description or defined compensation.

 On April 13, 2022, I verbally resigned to Lisa Andrezjewski via a phone call and then followed
 up with an official email resignation to her.

 Leading up to this meeting, I had been asked by Lisa Andrezjewski to communicate to two team
 members that their salaries were being significantly decreased, Dr. Christopher Rake and Evan
 Landau. In an email from Dr. Simone Gold, I was expressly told to cut Dr. Rake’s salary in half
 so that the other half could be added to John Strand’s compensation as the new Creative
 Director. Dr. Christopher Rake was no longer under my purview at this time, as his role in the
 Doc Tracy series fell under the newly separated Creative Department and therefore Creative
 Director, John Strand. I brought this up to Executive Director, Lisa Andrezjewski, questioning
 why I was asked to communicate this compensation change to Dr. Rake, when this clearly was
 not in my department. I was told that it was not John Strand’s responsibility and that I should
 have already handled it. This which departmentally incorrect and an example of the ongoing
 operational and procedural chaos that had ensued since the February 9, 2022, meeting, and
 particularly after Amy Landau’s departure.




 Paula Jo Lentz

 11.8.22
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          * AM ERICA’S                                                                                          1645 W.Valencia Rd. #109-193

          & FRONTLINE DOCTORS                                                                                             Tucson, Arizona 85746




Agenda
1. History of AFLDS. (20 min Dr. Gold)
          a. Pre-WCS (letter to POTUS, Mark Levin, Dennis Prager, First White Paper, finding allies)
          b. White Coat Summit. July 27, 2020.
          c. Immediate post WCS. August-December, 2020
          d. Next six months. January-May 2020
          e. Next -one year. May 2020-present
2. Personal introduction to Dr. Gold, Amy Landau, Joey Gilbert. (15 min)
         a. me: focus on believers, First A. (5 min)
         b. Amy and Joey speak for themselves. (10 min)
3. Professional Introduction to (60 min)
         a. Amy Landau - Director of Operations (15 min)
         b. Joey Gilbert - Director of Strategy (5 min)
         c. Drew Kachurak - Director of Marketing, IT (10 min)
         d. Paula Lentz - Director of Communications (5 min)
         e. Dr. Dana Granberg-Nill - Associate Medical Director, Clinical (10 min)
         f. Troy Brewer - CFO (10 min)
         g. Royce Hood - Assistant General Counsel (10 min)
4. What we have accomplished as a movement (50 min)
        a. budding civil rights organization (two pillars, two weapons) (5 min Paula)
        b. metrics (5 min Evan)
        c. website (Home, News, Legal, Medical, Videos, end with Highlight of Funny Videos for Social Media Engagement) (30 min
Drew)
        d. in-person (tour, speeches, interviews book, music video) (5 min Paula)
        e. populist movement, increasing connections (5 min Dr. Gold)
5. What we have accomplished to protect people (20 min)
        a. medical past (telemed) and future (clinics) (10 min Dr. Gold, Dr. Espinal)
        b. legal (15 min Joey, Gold)
6. What we intend (50 min)
        a. community organizing - CC (20 min Amy)
        b. community organizing - the “conservative” way (10 min Dana)
        c. empowering the people - News, Videos, CC (5 min Amy)
        d. Comms (media, Creative) - list our Creative (and media) categories (10 min Paula)
        e. policy through the people - effect change from grassroots (columnists, etc.) (5 min Dr. Gold)
7. Hot button areas (60 min)
         a. general disinformation about Dr. Gold & AFLDS (5 min Dr. Gold)
         b. threats on my: medical license, legal license, credibility (framing) (5 min Dr. Gold)
         c. extreme difficulty with travel, TSA (10 min Royce)
         d. Congress (10 min call George)
         e. severing nonprofit from future profit (10 min Royce, Gold)
         f. financial/assets (20 min Troy) - BOD, Troy only
8. Why current Board voted to add to Board, and why you. (everyone returns) (30 min)
        a. general: high integrity and won’t back down (Dr. Dana Granberg-Nill, Dr. Gold)
        b. specific: Church, Sheriff (Dr. Dana Granberg




     Simone Gold, MD, JD | Founder                      James Todaro, MD | Investigative Physician               Kris Held, MD | Physician Liaison

     Teryn Clarke, MD | Communications Liaison               Jeff Barke, MD | School Liaison         Q   Joseph Ladapo, MD, PhD | Policy Liaison Mark

     Richard Urso, MD | Science Liaison                    Scot! Barbour, MD | Business Liaison            Mark McDonald, MD | Mental Health Liaison


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